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“APR 09 2013
uss@.BRUTON _ UNITED STATES DISTRICT COURT
CLERK, US. DISTRICT COURTNORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

JUDGE THARP

UNITED STATES OF AMERICA . “7 3 CR 293

V.
) Violations: Title 18, United States

CEDRIC MOORE ) Code, Sections 922(g)(1) and 924(e)(1)

M
“GISTRATE JUDGE FiNnegay
The SPECIAL AUGUST 2012 GRAND JURY charges:

On or about August 1, 2012, at Chicago, in the Northern District of Illinois, Eastern
Division,
CEDRIC MOORE,
defendant herein, having previously been convicted of a crime punishable by a term of
imprisonment exceeding one year, did knowingly possess in and affecting interstate
commerce a firearm, namely, a Reck, model Baby, .22 caliber revolver, bearing serial
number 25703, which firearm had traveled in interstate commerce prior to defendant’s

possession of the firearm;

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(e)(1).
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FORFEITURE ALLEGATION

The SPECIAL AUGUST 2012 GRAND JURY further alleges:

1. The allegations contained in this Indictment are realleged and incorporated
herein by reference for the purpose of alleging forfeiture pursuant to Title 18, United States
Code, Section 924(d)(1) and Title 28, United States Code, Section 2461(c).

2. As aresult of his violation of Title 18, United States Code, Sections 922(g)(1),
as alleged in the foregoing Indictment,

CEDRIC MOORE,
defendant herein, shall forfeit to the United States, pursuant to Title 18, United States Code,
Section 924(d)(1), and Title 28, United States Code, Section 2461(c), any and all right, title,
and interest he may have in any property involved in the charged offense.

3. The property of the defendant subject to forfeiture pursuant to Title 18, United
States Code, Section 924(d)(1), and Title 28, United States Code, Section 2461(c) is: a Reck,
model Baby, .22 caliber revolver, bearing serial number 25703.

All pursuant to Title 18, United States Code, Section 924(d)(1), and Title 28, United
States Code, Section 2461(c).

A TRUE BILL:

 

FOREPERSON

 

UNITED STATES ATTORNEY
